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 Loly G. Tor
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 Defendants Cipla Limited and
 Cipla USA, Inc.

                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY


  FENNEC PHARMACEUTICALS, INC. and                       No. 2:23-cv-00123-MCA-MAH
  OREGON HEALTH AND SCIENCE
  UNIVERSITY,                                            Hon. Madeline Cox Arleo, U.S.D.J.
                                                         Hon. Michael A. Hammer, U.S.M.J.
              Plaintiffs,
                  v.                                       CERTIFICATION OF LOLY G. TOR
                                                                 IN SUPPORT OF THE
                                                          ADMISSION PRO HAC VICE OF ANIL
  CIPLA LIMITED and CIPLA USA, INC.,
                                                          H. PATEL, HAROLD STOREY, JENNA
                Defendants.                                  BRUCE, AND ADAM S. BERLIN

                                                                 Document Filed Electronically


        I, Loly G. Tor, an attorney duly admitted to practice law in the Courts of the State of New

 Jersey and the United States District Court for the District of New Jersey, declare and certify

 pursuant to Local Civil Rule 101.1(c) as follows:

        1.      I am a partner with the law firm of K&L Gates LLP, counsel for Cipla Limited and

 Cipla USA, Inc. I submit this Certification in support of the application of Cipla Limited and Cipla

 USA, Inc. for an order admitting Anil H. Patel, Esq., Harold Storey, Esq., Jenna Bruce, Esq., and

 Adam S. Berlin, Esq., as counsel pro hac vice in the within matter pursuant to Local Civil Rule

 101.1(c). I am personally familiar with the facts set forth in this Certification.

        2.      Attorney Patel’s accompanying certification sets forth his qualifications and

 demonstrates that he is a member in good standing of the bars of the following courts: United
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 States District Court for the Northern District of Georgia; State of Georgia; State of New York;

 and State of Texas.

          3.    Attorney Storey’s accompanying certification sets forth his qualifications and

 demonstrates that he is a member in good standing of the bars of the following courts: United

 States Court of Appeals for the Federal Circuit; United States Court of Appeals for the Fourth

 Circuit; United States Court of Federal Claims; United States District Court for the Northern

 District of California; United States District Court for the Eastern District of California; United

 States District Court for the Southern District of California; State of California; State of

 Washington; and United States Patent and Trademark Office.

          4.    Attorney Bruce’s accompanying certification sets forth her qualifications and

 demonstrates that she is a member in good standing of the bars of the following courts: State of

 Washington; United States Patent and Trademark Office.

          5.    Attorney Berlin’s accompanying certification sets forth his qualifications and

 demonstrates that he is a member in good standing of the Bar of the following courts: State of

 Texas.

          6.    Counsel for all parties consent to pro hac vice admission of Attorneys Patel, Storey,

 Bruce, and Berlin in this litigation.

          7.    Attorneys Patel, Storey, Bruce, and Berlin understand that only counsel of record

 and an attorney admitted to practice before this Court may file papers, enter appearances for

 parties, sign stipulations, or sign and receive payments on judgments, decrees or orders and must

 accept service of all papers served.

          8.    Attorneys Patel, Storey, Bruce, and Berlin understand their respective obligations

 to make an annual payment to the New Jersey Lawyers’ Fund for Client Protection, to make a one-

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 time payment of $150.00 to the Clerk of the United States District Court, to strictly adhere to the

 dates fixed for all proceedings in this action and to be bound by the Local Civil Rules, in particular

 the rules relating to Judicial Ethics and Professional Responsibility and Discipline of attorneys.

         9.      If the Court grants this request for pro hac vice admission, either I or another

 attorney associated with K&L Gates LLP that is admitted to practice before this Court will

 continue to serve as local counsel of record in this matter, will review and sign all pleadings, briefs,

 and other papers filed with the Court, will be responsible for the conduct of this action and for the

 conduct of the attorneys admitted pro hac vice, and will otherwise comply with all the terms and

 conditions of Local Civil Rule 101.1(c).

         10.     Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

 is true and correct.



 Dated: March 13, 2023                           By:    s/ Loly G. Tor
                                                        Loly G. Tor




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